IN THE UNITED STATES DISTRICT COURT ae
FOR THE NORTHERN DISTRICT OF TEXAS® Jin 16 Py 2 50

 
     

 

 

 

 

 

FORT WORTH DIVISION
UNITED STATES OF AMERICA
¥. No. 4:20-MJ-_ QQ
CURTIS BROWN (01)

U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FILED

W. T FOR ARREST JAN 23 2020

TO: The United States Marshal and (CLERK, U.S: DISTRICT COURT
Any Authorized Officer of the United States By. Dep

 

 

 

YOU ARE HEREBY COMMANDED to arrest CURTIS BROWN, and bring him

 
   

forthwith te
Bank Robbery 7

e neafest available magistrate to answer a Complaint charging him with
viglation of 18 U.S.C. § 2113(a) and 18 U.S.C. § 2.

 

 

 

RETURN— ~~

 

This warrant was received and executed with the arrest of the above-named

 

 

 

defendant at
DATE RECEIVED: NAME AND TITLE OF SIGNATURE OF
ARRESTING OFFICER: G OF
Ol |e Bago Qn Vie ie Voce [Gex r
DATE OF ARREST: |
ol I [2 ORD

 

 

 

 

 

 
IN THE UNITED STATES DISTRICT CO

Case 4:20-cr-00063B 8 RFRA 12 Aidt 023/20 Page i062 Foti 2 11

 

FOR THE NORTHERN DISTRICT OF RRXA6 | 4 pw 2 509

 

 

 

 

 

FORT WORTH DIVISION
UNITED STATES OF AMERICA
v. No. 4:20-MJ-__o2 <2
KYSTON S. YOUNG (02)

US. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FILED

Ww FOR ARREST JAN 2.3 2020

TO: The United States Marshal and a 2: oh pe
Any Authorized Officer of the United States By.

 

 

 

YOU ARE HEREBY COMMANDED to arrest KYSTON S. YOUNG, and bring
him forthwith to

  

nearest available magistrate to answer a Complaint charging him with
iolation of 18 U.S.C. § 2113(a) and 18 U.S.C. § 2.

 

 

ae nee —-REFURN— en ct NE EE oR Be

 

This warrant was received and executed with the arrest of the above-named

 

 

 

defendant at
DATE RECEIVED: NAME AND TITLE OF SIGNATURE OF
ARRESTING OFFICER: TING OFFICER:
01/16/2029 ace Meco: Love WE
DATE OF ARREST:
oj /a)|a020

 

 

 

 

 

 
